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IN THE UNITED STATES DISTRICT COUR). Sere
FOR THE NORTHERN DISTRICT OF TEXAS FILED.
FORT WORTH DIVISION ns
SECURITIES AND EXCHANGE COMMISSION, = § MAY 20 2009
§ po
Plaintiff, § CLERK, U.S. DISTRICT COURT
§ ee ND By Deputy
Vv. § iv_No.:
§
KISELAK CAPITAL GROUP, LLC, §
GEMSTAR CAPITAL GROUP, INC. § ae - a
MICHAEL J. KISELAK, and § 4 O9CV-256-A
JEFFREY J. SYKES, §
§
Defendants. §
§

 

ORDER APPOINTING RECEIVER

This matter came before me, the undersigned United States District Judge, on the motion
of Plaintiff Securities and Exchange Commission for the appointment of a Receiver for
Defendants Kiselak Capital Group, LLC and Gemstar Capital Group, Inc. (“Defendants”). It
appears that this Order Appointing Receiver is both necessary and appropriate in order to prevent
waste and dissipation of the assets of Defendants to the detriment of the investors.

IT IS THEREFORE ORDERED that:

1. This Court assumes exclusive jurisdiction and takes possession of the assets,
monies, securities, properties, real and personal, tangible and intangible, of whatever kind and
description, wherever located, and the legally recognized privileges (with regard to the entities),
of the Defendants and all entities they own or control (“Receivership Assets”), and the books and
records, client lists, account statements, financial and accounting documents, computers,
computer hard drives, computer disks, internet exchange servers telephones, personal digital

devices and other informational resources of or in possession of the Defendants, or issued by

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Defendants and in possession of any agent or employee of the Defendants (“Receivership
Records”).

2. Lars Berg of Ft.Worth , Texas, is hereby appointed Receiver for the

 

Receivership Assets and Receivership Records (collectively, “Receivership Estate”), with the
full power of an equity receiver under common law as well as such powers as are enumerated
herein as of the date of this Order. The Receiver shall not be required to post a bond unless
directed by the Court but is hereby ordered to well and faithfully perform the duties of his office:
to timely account for all monies, securities, and other properties which may come into his hands;
and to abide by and perform all duties set forth in this Order. Except for an act of willful
malfeasance or gross negligence, the Receiver shall not be liable for any loss or damage incurred
by the Receivership Estate, or any of Defendants, the Defendants’ clients or associates, or their
subsidiaries or affiliates, their officers, directors, agents, and employees, or by any of
Defendants’ creditors or equity holders because of any act performed or not performed by him or
his agents or assigns in connection with the discharge of his duties and responsibilities

hereunder.

3. The duties of the Receiver shall be specifically limited to matters relating to the
Receivership Estate and unsettled claims thereof remaining in the possession of the Receiver as
of the date of this Order. Nothing in this Order shall be construed to require further investigation
of Receivership Estate assets heretofore liquidated and/or distributed or claims of the
Receivership Estate settled prior to issuance of this Order. However, this paragraph shall not be
construed to limit the powers of the Receiver in any regard with respect to transactions that may

have occurred prior to the date of this Order.

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4. Until the expiration date of this Order or further Order of this Court, the Receiver
is authorized to immediately take and have complete and exclusive control, possession, and
custody of the Receivership Estate and to any assets traceable to assets owned by the

Receivership Estate.

5. As of the date of entry of this Order, the Receiver is specifically directed and
authorized to perform the following duties:
(a) Maintain full control of the Receivership Estate with the power to retain or
remove, as the Receiver deems necessary or advisable, any officer, director, independent

contractor, employee, or agent of the Receivership Estate;

(b) Collect, marshal, and take custody, control, and possession of all the
funds, accounts, mail, and other assets of, or in the possession or under the control of, the
Receivership Estate, or assets traceable to assets owned or controlled by the Receivership
Estate, wherever situated, the income and profit therefrom and all sums of money now or
hereafter due or owing to the Receivership Estate with full power to collect, receive, and
take possession of, without limitation, all goods, chattel, rights, credits, monies, effects,
lands, leases, books and records, work papers, records of account, including computer
maintained information, contracts, financial records, monies on hand in banks and other
financial initiations, and other papers and documents of other individuals, partnerships, or
corporations whose interests are now held by or under the direction, possession, custody,

or control of the Receivership Estate;

(c) Institute such actions or proceedings to impose a constructive trust, obtain

possession, and/or recover judgment with respect to persons or entities who received

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assets or records traceable to the Receivership Estate. All such actions shall be filed in

this Court;

(d) Obtain, by presentation of this Order, documents, books, records,
accounts, deposits, testimony, or other information within the custody or control of any
person or entity sufficient to identify accounts, properties, liabilities, causes of action, or
employees of the Receivership Estate. The attendance of a person or entity for
examination and/or production of documents may be compelled in a manner provided in
Rule 45, Fed. R. Civ. P., or as provided under the laws of any foreign country where such

documents, books, records, accounts, deposits, or testimony may be located;

(e) Without breaching the peace and, if necessary, with the assistance of local
peace officers or United States marshals to enter and secure any premises, wherever
located or situated, in order to take possession, custody, or control of, or to identify the

location or existence of, Receivership Estate assets or records;

(f) Make such ordinary and necessary payments, distributions, and
disbursements as the Receiver deems advisable or proper for the marshaling,
maintenance, or preservation of the Receivership Estate. Receiver is further authorized to
contract and negotiate with any claimants against the Receivership Estate (including,
without limitation, creditors) for the purpose of compromising or settling any claim. To
this purpose, in those instances in which Receivership Estate assets serve as collateral to
secured creditors, the Receiver has the authority to surrender such assets to secured

creditors, conditional upon the waiver of any deficiency of collateral;

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(g) Perform all acts necessary to conserve, hold, manage, and preserve the
value of the Receivership Estate, in order to prevent any irreparable loss, damage, and

injury to the Estate;

(h) Enter into such agreements in connection with the administration of the
Receivership Estate, including, but not limited to, the employment of such managers,
agents, custodians, consultants, investigators, attorneys, and accountants as Receiver
judges necessary to perform the duties set forth in this Order and to compensate them

from the Receivership Assets;

(i) Institute, prosecute, compromise, adjust, intervene in, or become party to

_ such actions or proceedings in state, federal, or foreign courts that the Receiver deems
necessary and advisable to preserve the value of the Receivership Estate, or that the
Receiver deems necessary and advisable to carry out the Receiver’s mandate under this
Order and likewise to defend, compromise, or adjust or otherwise dispose of any or all
actions or proceedings instituted against the Receivership Estate that the Receiver deems

necessary and advisable to carry out the Receiver’s mandate under this Order;

GQ) Preserve the Receivership Estate and minimize expenses in furtherance of
maximum and timely disbursement thereof to claimants;

(k) Promptly provide the United States Securities and Exchange Commission
and other governmental agencies with all information and documentation they may seek

in connection with its regulatory or investigatory activities;

(1) Prepare and submit periodic reports to this Court and to the parties as

directed by this Court; and

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(m) File with this Court requests for approval of reasonable fees to be paid to
the Receiver and any person or entity retained by him and interim and final accountings

for any reasonable expenses incurred and paid pursuant to order of this Court.

6. Upon the request of the Receiver, the United States Marshal’s Office is hereby
ordered to assist the Receiver in carrying out his duties to take possession, custody, or control of,
or identify the location of, any Receivership Estate assets or records.

7. Creditors and all other persons are hereby restrained and enjoined from the
following actions, unless this Court, consistent with general equitable principals and in
accordance with its ancillary equitable jurisdiction in this matter, orders that such actions may be
conducted in another forum or jurisdiction:

(a) The commencement or continuation, including the issuance or
employment of process, of any judicial, administrative, or other proceeding against the
Receiver, any of the defendants, the Receivership Estate, or any agent, officer, or
employee related to the Receivership Estate, arising from the subject matter of this civil
action; or

(b) The enforcement, against the Receiver, or any of the defendants, of any
judgment that would attach to or encumber the Receivership Estate that was obtained
before the commencement of this proceeding.

8. Creditors and all other persons are hereby restrained and enjoined, without prior
approval of the Court, from:

(a) Any act to obtain possession of the Receivership Estate assets;

(b) Any act to create, perfect, or enforce any lien against the property of the

Receiver, or the Receivership Estate;

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(c) Any act to collect, assess, or recover a claim against the Receiver or that
would attach to or encumber the Receivership Estate; or
(d) The set off of any debt owed by the Receivership Estate or secured by the

Receivership Estate assets based on any claim against the Receiver or the Receivership

Estate.

9. Defendants, their respective officers, agents, and employees and all persons in
active concert or participation with them who receive notice of this Order by personal service or
otherwise, including, but not limited to, any financial institution, broker-dealer, investment
adviser, private equity fund or investment banking firm, and each of them, are hereby ordered,
restrained, and enjoined from, directly or indirectly, making any payment or expenditure of any
Receivership Estate assets that are owned by Defendants or in the actual or constructive
possession of any entity directly or indirectly owned or controlled or under common control with
the Receivership Estate, or effecting any sale, gift, hypothecation, assignment, transfer,
conveyance, encumbrance, disbursement, dissipation, or concealment of such assets. A copy of
this Order may be served on any bank, savings and loan, broker-dealer, or any other financial or
depository institution to restrain and enjoin any such institution from disbursing any of the
Receivership Estate assets. Upon presentment of this Order, all persons, including financial
institutions, shall provide account balance information, transaction histories, all account records
and any other Receivership Records to the Receiver or his agents, in the same manner as they
would be provided were the Receiver the signatory on the account.

10. | Defendants, and their respective agents, officers, and employees and all persons in
active concert or participation with them are hereby enjoined from doing any act or thing

whatsoever to interfere with the Receiver’s taking control, possession, or management of the

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Receivership Estate or to in any way interfere with the Receiver or to harass or interfere with the
duties of the Receiver or to interfere in any manner with the exclusive jurisdiction of this Court
over the Receivership Estate, including the filing or prosecuting any actions or proceedings
which involve the Receiver or which affect the Receivership Assets or Receivership Records,
specifically including any proceeding initiated pursuant to the United States Bankruptcy Code,
except with the permission of this Court. Any actions so authorized to determine disputes
relating to Receivership Assets and Receivership Records shall be filed in this Court.

11. Defendants, their respective officers, agents, and employees and all persons in
active concert or participation with them who receive actual notice of this Order by personal
service or otherwise, including any financial institution, broker-dealer, investment adviser,
private equity fund or investment banking firm, and each of them shall:

(a) To the extent they have possession, custody, or control of same, provide
immediate access to and control and possession of the Receivership Estate assets and
records, including securities, monies, and property of any kind, real and personal,
including all keys, passwords, entry codes, and all monies deposited in any bank
deposited to the credit of the Defendants, wherever situated, and the original of all books,
records, documents, accounts, computer printouts, disks, and the like of Defendants to

Receiver or his duly authorized agents;

(b) Cooperate with the Receiver and his duly authorized agents by promptly
and honestly responding to all requests for information regarding Receivership Assets
and Records and by promptly acknowledging to third parties the Receiver’s authority to

act on behalf of the Receivership Estate and by providing such authorizations, signatures,

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releases, attestations, and access as the Receiver or his duly authorized agents may

reasonably request;

(c) Provide the Commission with a prompt, full accounting of all
Receivership Estate assets and documents outside the territory of the United States which
are held either: (1) by them, (2) for their benefit, or (3) under their control;

(d) Transfer to the territory of the United States all Receivership Estate assets
and records in foreign countries held either: (1) by them, (2) for their benefit, or (3)
under their control; and

(e) Hold and retain all such repatriated Receivership Estate assets and
documents and prevent any transfer, disposition, or dissipation whatsoever of any such
assets or documents, until such time as they may be transferred into the possession of the
Receiver.

12. Any financial institution, broker-dealer, investment adviser, private equity fund or
investment banking firm or person that holds, controls, or maintains accounts or assets of or on
behalf of any Defendant, or has held, controlled, or maintained any account or asset of or on
behalf of any defendant or relief defendant since January 1, 2007, shall:

(a) Hold and retain within its control and prohibit the withdrawal, removal,
assignment, transfer, pledge, hypothecation, encumbrance, disbursement, dissipation,
conversion, sale, gift, or other disposal of any of the assets, funds, or other property held
by or on behalf of any Defendant in any account maintained in the name of or for the

benefit of any defendant or relief defendant in whole or in part except:

(i) as directed by further order of this Court, or

(ii) as directed in writing by the Receiver or his agents;

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(b) Deny access to any safe deposit boxes that are subject to access by any
Defendant; and

(c) The Commission and Receiver may obtain, by presentation of this Order,
documents, books, records, accounts, deposits, or other information within the custody or
control of any person or entity sufficient to identify accounts, properties, liabilities,
causes of action, or employees of the Receivership Estate. The attendance of a person or
entity for examination and/or production of documents may be compelled in a manner
provided in Rule 45, Fed. R. Civ. P., or as provided under the laws of any foreign country

where such documents, books, records, accounts, deposits, or testimony may be located;

13. The Defendants, their officers, agents, and employees and all persons in active
concert or participation with them and other persons who have notice of this Order by personal
service or otherwise, are hereby restrained and enjoined from destroying, mutilating, concealing,
altering, transferring, or otherwise disposing of, in any manner, directly or indirectly, any
contracts, accounting data, correspondence, advertisements, computer tapes, disks or other
computerized records, books, written or printed records, handwritten notes, telephone logs,
telephone scripts, receipt books, ledgers, personal and business canceled checks and check
registers, bank statements, appointment books, copies of federal, state, or local business or
personal income or property tax returns, and other documents or records of any kind that relate in

any way to the Receivership Estate or are relevant to this action.

14. The Receiver is hereby authorized to make appropriate notification to the United
States Postal Service to forward delivery of any mail addressed to the Defendants, or any

company or entity under the direction and control of the Defendants, to himself. Further, the

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Receiver is hereby authorized to open and inspect all such mail to determine the location or
identity of assets or the existence and amount of claims.

15. Nothing in this Order shall prohibit any federal or state law enforcement or
regulatory authority from commencing or prosecuting an action against the Defendants, their
agents, officers, or employees.

So Ordered and signed, this Vv Onay of May 20

  

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